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                                                       U.S. DISTRICT COURT
                                                       Southern District of Ga.
                                                            Filed in Office
               IN THE UNITED STATES DISTRICT COURT FOR                        M
                  THE SOUTHERN DISTRICT OF GEORGIA                            V^
                           SAVANNAH DIVISION
                                                            Deputy Clerk


UNITED STATES OF AMERICA,


                                              Case No.    CR417-208-11


CARLOS ELDER,
                  Defendant.




UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-263-03


FREDERICK BROWN,
                  Defendant.




                                 ORDER


     Elizabeth F. Pavlis, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.            The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and             trial shall
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